Doris A. Kaelin FI LED

P.O. Box 1582

Santa Cruz, CA 95061 AUG 1 1 2020,,,.~
(831) 600-8093 UMTED STATES BANKRUPTCY COURT
Trustee in Bankruptcy SAM FRANCSEO, CA

IN THE UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE

In re: Case No. 17-51357
KEMPIS, EILEEN M Chapter 7
OTICE OF UNCLAIMED
IVIDEND TURNED OVER TO THE
Debtor(s) CLERK IN THE AMOUNT OF $102,989.00

OR DEBTOR EILEEN M. KEMPIS

 

TO THE CLERK, UNITED STATES BANKRUPTCY COURT:

Pursuant to Federal Rule 3011 and the ORDER AUTHORIZING PAYMENT OF DEBTOR’S SURPLUS
DISTRIBUTION FUNDS INTO THE CouRT (Dkt. 214), the trustee in the above-captioned case hereby turns
over to the Court, unclaimed dividend(s) in the amount of $102,989.00. The name(s) and address(es) of

the claimants entitled to the unclaimed dividends are as follows:

 

Name & Address Claim Dividend
Claim # of Claimant Amount Amount
N/A* Eileen M. Kempis N/A* $102,989.00

836 Pomeroy Ave. #68
Santa Clara, CA 95051

*Dividend is surplus distribution to Debtor

 

Dated: August 7, 2020

 

Doris A. Kaelin, TRUSTEE

 
